Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 1 of 6 Page ID
                                #:14319




                           EXHIBIT

                              TAB 7
Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 2 of 6 Page ID
                                #:14320




      TAB 7: INTERPRETER FEES FOR DEPOSITIONS

     Invoice                         Description                         Amount
      Date
   08/18/2021 Kathy S. Sim Invoice No. 1220379 for the deposition of:
                1) Ki-Hoon (Lan) Kim, August 12, 2021                    $800.00
                2) Ho-Jung Kim, August 13, 2021                          $900.00


   08/19/2021 Ko & Martin Invoice No. 2354 for the deposition of:
               1) Cancellation fee [not claimed here as a cost]              N/A
               2) Kyuhan Han, August 9, 2021                             $875.00
               3) Indong Kim, August 10, 2021                            $950.00
               4) Hyunki Ji, August 11, 2021                             $950.00
               5) Hyeoksang (Harrison) Yoo, Vol. 1, August 12, 2021     $1,025.00
               6) Hyeoksang (Harrison) Yoo, Vol. 2, August 13, 2021      $800.00
               7) Byungyeop Jeon, Vol 1, August 15, 2021                 $800.00
               8) Byungyeop Jeon, Vol 2, August 16, 2021                 $800.00


   09/21/2021 Ko & Martin Invoice No. 2383 for the deposition of:       $1,025.00
               Byungwook Kam, September 20, 2021


   Total:                                                               $8,925.00
Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 3 of 6 Page ID
                                #:14321
Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 4 of 6 Page ID
                                #:14322
Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 5 of 6 Page ID
                                #:14323
Case 8:20-cv-00993-MCS-ADS Document 310-8 Filed 02/28/22 Page 6 of 6 Page ID
                                #:14324
